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UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,              )   Cr. No. 17-00101 LEK
                                        )
                    Plaintiff,          )   GOVERNMENT'S RESPONSE TO
                                        )   DEFENDANT’S MOTION TO
             v.                         )   DEMAND IMMEDIATE RELEASE;
                                        )   CERTIFICATE OF SERVICE
 ANTHONY WILLIAMS,                      )
                                        )
                    Defendant.          )
                                        )
                                        )
                                        )
                                        )

              GOVERNMENT'S RESPONSE TO DEFENDANT’S
               MOTION TO DEMAND IMMEDIATE RELEASE

      The government respectfully submits this brief in response to the defendant

Anthony T. Williams’s motion to demand immediate release from pretrial
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detention. Mot. Exh. A, ECF No. 524-2. The Motion represents the fourth time

the defendant has argued to this Court that he should be granted pretrial release on

bond. See ECF No. 35 (Hearing on government’s Motion to Detain); ECF No.

133 (Defendant’s Motion in Opposition to Denial of Speedy Trial and Pre-Trial

Release); ECF No. 492 (Motion for Bond). As noted in previous briefing, the

issues relating to the defendant’s detention were fully litigated before this Court

and decided on September 29, 2017. ECF No. 35.          Pursuant to Rule 57.3(b) of

the Criminal Local Rules of this Court (Crim.LR.), the time to appeal the

Magistrate Judge’s detention order expired fourteen days after the ruling. Thus,

the defendant’s motion represents an untimely appeal of the detention order.

      As noted in the government’s initial Motion to Detain filing, the defendant is

ineligible for pretrial release. According to records obtained from the Broward

County, Florida Clerk of Court, the defendant was convicted of Grand Theft and

Unlawful Filing of False Documents or Records Against Property, and received a

sentence of 15 years imprisonment, followed by 15 years of probation on June 23,

2017. ECF No. 34 at 2 (Memo. in Supp. of Mot. Detain); Exh B (Sentence, State

of Florida v. Anthony Troy Williams, Case No. 17-74ACF10). The defendant

appears before this Court, and is in Federal custody, pursuant to a writ of habeas

corpus prosequendum. ECF No. 23 (Writ). Because the jurisdiction of the State

of Florida over the defendant continues uninterruptedly while the defendant is in
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Federal custody, Thomas v. Brewer, 923 F.2d 1361, 1367 (9th Cir. 1991), the

defendant is ineligible for pretrial release while awaiting trial in this matter.

      In his latest Motion, the defendant claims, wholly without support, that

“[t]he undersigned no longer has a hold from Florida and therefore must be

released on his own recognizance.” Mot. Exh. A at 2, ECF No. 524-2 (emphasis

added). It is unclear what the defendant means when he describes a “hold from

Florida.” The docket available from the website of the Broward County, Florida

Clerk of Court contains no record of vacatur of the defendant’s judgment and

fifteen-year sentence. Exhibit A at 3 (Case detail for Case # 17000074CF10A,

Broward County Clerk of Courts, available at

https://www.browardclerk.org/web2). To the contrary, under “Dispositions,” the

docket indicates that the defendant was “Convicted by Jury – Adjudicated” on

“06/23/2017,” and that his Confinement of “Max. 15 Year(s)” is “Effective

06/23/2017.” Id. The defendant has produced no evidence of additional

developments that would affect his sentence.

      The defendant also appears to raise, for the first time, the argument that he

should be released because he has served longer in Federal pretrial custody than his

potential sentencing exposure on the mail and wire fraud counts. Mot. Exh. A at

2, ECF No. 524-2. The defendant’s argument rests upon the mistaken premise

that his time at the Federal Detention Center, Honolulu may be credited against his
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Federal sentencing exposure. This is incorrect. Because the defendant is in

Federal custody on a writ of habeas corpus prosequendum, the State of Florida has

primary jurisdiction over the defendant. Taylor v. Reno, 164 F.3d 440, 445 (9th

Cir. 1998). Therefore, the time spent by the defendant in Federal custody during

pretrial is only being credited against the defendant’s fifteen-year sentence handed

down by the State of Florida; it is not being credited toward any future sentence

handed down by this Court in connection with the Superseding Indictment. Id.

(“[T]he district court did not have the authority to place Taylor into federal custody

for the purpose of commencing his federal sentence.”). Should the defendant be

convicted and receive a sentence of imprisonment from this Court, his sentence

will not begin until he has completed his Florida sentence or the State of Florida

otherwise relinquishes primary custody and jurisdiction over the defendant. That

the defendant’s Federal sentence of imprisonment may be longer or shorter than

the period of his Federal pretrial detention, as the defendant argues in the Motion,

has no bearing on the fact that he will have to serve it in its entirety.
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                                 CONCLUSION

      For the foregoing reasons, the government respectfully requests that the

Court deny Defendant’s motion for immediate pretrial release.

            DATED: July 23, 2019, at Honolulu, Hawaii.

                                            KENJI PRICE
                                            United States Attorney
                                            District of Hawaii


                                            By /s/ Gregg Paris Yates
                                             GREGG PARIS YATES
                                             Assistant U.S. Attorney
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                               CERTIFICATE OF SERVICE

      I certify that, on the dates and by the methods of service noted below, a true

and correct copy of the foregoing was served on the following by the method

indicated on the date of filing:

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             DATED: July 23, 2019, at Honolulu, Hawaii.


                                              /s/ Melena Malunao________
                                             U.S. Attorney’s Office
                                             District of Hawaii
